

Beck v City of Niagara Falls (2022 NY Slip Op 04438)





Beck v City of Niagara Falls


2022 NY Slip Op 04438


Decided on July 8, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 8, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, CURRAN, AND WINSLOW, JJ.


104 CA 20-01564

[*1]DANIEL J. BECK AND DEBRA BECK, PLAINTIFFS-RESPONDENTS,
vCITY OF NIAGARA FALLS, ET AL., DEFENDANTS, AND SIMFALL, LLC, DEFENDANT-APPELLANT. 







GOLDBERG SEGALLA LLP, BUFFALO (MEGHAN M. BROWN OF COUNSEL), FOR DEFENDANT-APPELLANT.
FRANCIS M. LETRO, ATTORNEYS AND COUNSELORS AT LAW, BUFFALO (CAREY C. BEYER OF COUNSEL), FOR PLAINTIFFS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Niagara County (Ralph A. Boniello, III, J.), entered November 6, 2020. The order denied the motion of defendant Simfall, LLC, for summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on June 1, 2022,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: July 8, 2022
Ann Dillon Flynn
Clerk of the Court








